                                 Case 1:24-cv-00864-DII Document 1-1 Filed 08/01/24 Page 1 of 2
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SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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           QUICKVAULT, INC.                                                                                          BROADCOM INC., d/b/a BROADCOM CORPORATION

    E &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII                                                     &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
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    F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                              $WWRUQH\V(If Known)

         H. Artoush Ohanian, OhanianIP, 604 West 13th Street,
         Austin, TX 78701 512-298-2005

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                                                                                                       (For Diversity Cases Only)                                                               and One Box for Defendant)
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                                                                                                                                                                RI%XVLQHVV,Q7KLV6WDWH

u  86*RYHUQPHQW              u  'LYHUVLW\                                              &LWL]HQRI$QRWKHU6WDWH                  u          u        ,QFRUSRUDWHGand3ULQFLSDO3ODFH                   u          u 
        'HIHQGDQW                         (Indicate Citizenship of Parties in Item III)                                                                            RI%XVLQHVV,Q$QRWKHU6WDWH

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                                       35 U.S.C. §§ 271 and 284-285
9,&$86(2)$&7,21                  %ULHIGHVFULSWLRQRIFDXVH
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         'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODUDPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
         -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG

9,,, 5HODWHG&DVHV7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IWKHUHDUHUHODWHGSHQGLQJFDVHVLQVHUWWKHGRFNHW
       QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV

'DWHDQG$WWRUQH\6LJQDWXUH'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
